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                             Exhibit A
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                                   DECLARATIONOFDOE1

  Ideclareasfollows:

      1.   Iamover18yearsold.Theinformationinthisdeclarationisbasedonmyperson

           knowledge.

      2.   IamacivilianworkerandcareercivilservantemployedatanagencyoftheU.S

           government.

      3.   Theagencywhichemployeesmeisan“agency”withinthemeaningof5U.S.C.§51()

           and5U.S.C.§701(b)(1).

      4.   IresideintheEasternDistrictofVirginia.

      5.   BecauseIamemployedatanagencyoftheU.S.government,Iunderstandthatmy

           personalinformation,includingmySocialSecuritynumber,homeaddress,dis

           records,andothersensitivepersonnelrecords,arestoredinsystemsad

           U.S.OfficeofPersonnelManagement(OPM).Theseincludetheconstituentsystem

           theEnterpriseHumanResourcesIntegration.

      6.   Ihaveelectronicallyfiledafederalincometaxreturnwithinthelastsi

      7.   BecauseIhaveelectronicallyfiledafederalincometaxreturnwithinth

           understandthatmypersonalinformation,includingmySocialSecuritynumb

           bankinginformation,amongothersensitiveinformation,isstoredinthep

           oftheU.S.DepartmentofTreasury’sBureauoftheFiscalService(BFS).

      8.   Basedonconfidenceingovernmentsecuritypracticesandexplicitdisclo

           theTaxpayerBillofRightsandSystemsofRecordsNoticesadvisoriesonempl

           forms,Iunderstoodandexpectedthatthefederalgovernmentwouldkeepm

           informationcontainedinOPMandBFSsystemsprivateandconfidential.



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      9.    Iunderstoodandexpectedthatthefederalgovernmentwouldadheretoa

            laws,regulations,andpoliciesprotectingtheprivacy,confidentiality,an

            personalinformationcontainedinOPMandBFSsystems.

      10.   Unlawfulbreach,disclosure,andaccessingofmypersonalinformationconta

            OPMandBFSsystemshascausedmesignificantfearaboutthemisuseofmy

            informationbythosewhohaveaccessedit,significantfearabouttheincre

            vulnerabilityofmypersonalinformationtofurthertheft,andsignificant

            increasedriskofidentitytheft.

  Ideclareunderpenaltyofperjurythat,tothebestofmyknowledge,theforegoingi

  correct.



  ExecutedonFebruary1,205



                                               ____________________
                                                  DOE1




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